Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 1 of 46




                 LOWELL DECL. EX. 4
Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 2 of 46
Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 3 of 46




                          Exhibit 154
    Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 4 of 46




Translator’s Notes for Translation of Bates 31-47
Where flow and accurate English equivalency necessitated phrasing supplemental to wording in
the original/source, such supplemental phrasing was supplied between straight brackets.

Essential explanatory material was supplied between italicized brackets.

The printed, but not handwritten, portions of Bates 40 and 41 were translated by a different translator.
That translator’s product is not included here, but the translation of these pages’ handwritten content
(aided by transcription) is herewith provided.

Bates 32, 33, 34, 35, 37, 40, 41, 43, and 45 were translated with the aid of transcriptions supplied for the
handwritten portions of those pages.
_____________________________________________________________________________
      Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 5 of 46




Ministry of Finance
Palestine
                                  Licensed Operator: 000000000

Page 1                                Statement of Account                 June 12, 2012 1:25 p

 January 1, 2001 – December 31, 2001        Regular Advance Payments / Name of the Beneficiary

                           01-2999 Mohamed Mahmoud Mohamed Zayd

______________________________________________________________________________


 Date of the   Vendor of the                                   Balance                Balance
                                 Debtor         Creditor                   Value
 Instrument       Note                                          (NIS)                  (NIS)

                Revolving
      01/01                                                      0.00
                 Balance
               04281 Rental
    10/09        of Front
                                23,760.00      23,760.00         0.00
Disbursement   Headquarters,
  19782 01       Qalqilya

                   Total        23,760.00      23,760.00




End                            Copyright 1989 Bisan Corp. Ltd., Ramallah




                                                                                   07:000031-T
    Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 6 of 46




[Page partially filled with extremely faint text bearing seven hand-entered hatch-marks and what
appear to be two illegible signatures. Content is likely a printout of a bank statement containing
both numbers and letters/words. Two words are legible: One that may be translated as
“apartment,” “half,” or “gap;” and the other that may be translated as “value.”]




\




                                                                                    07:000032-T
    Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 7 of 46




[Page on which no text is visible, except for seven hand-entered hatch-marks and two illegible
entries that appear to be signatures.]




                                                                                   07:000033-T
     Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 8 of 46




Ministry of Finance
Control and Internal Audit Department
                                  Pre-Audit Schedule
 Honorable Mr. Director General of the Treasury [One or more illegible words, with some text covered by
                                                 apparent post-it note]

Date: August 16, 2001                                                              [Apparent Post-It Note] Honorable Brother
                                                                                   ‘Abdallah [possible additional, but truncated,
Responsibility Center/Ministry: The Front [one or more                             word(s)]:
truncated words]                                                                   Mr. [truncated word(s)]’s directive has been
Monetary Item: Rent                                                                renewed, the check and [truncated word(s)]
                                                                                   instrument have been cancelled, and a new check
To Mr.: ‘Atufa Wakil, Ministry of Finance                                          has been drawn in the amount of [illegible word]
                                                                                   4,000 [truncated word].____________________
I am returning to you the enclosed Voucher No. 4248,                                              [illegible word and letters]
presented by way of authorizing a disbursement in the
                                                                                                     [illegible signature]
amount of [truncated numbers/words] to the
order of the receiving beneficiary, Mohamed Mahmoud                                                    October 8, 2001
Mohamed Zayd .

My remarks about this are set forth in the following. Kindly correct, and return this Schedule along with
your response.

Attachment of the review of the rental disbursement is requested (directive of [truncated word(s)])
Mr. Taysir Quba’a                       Rental of Qalqilya headquarters
                                                  August 10, 2001
Auditor/Section Chief: Wasim [illegible name(s)] Deputy Director:                                  Department Director:
                                                                                                   [illegible signature]
Signature: August 16, 2001                        Signature:                               Signature: [illegible signature]

Findings of the Concerned Authority:
Honorable Brother Rami,                                                                              The sister is from the
The original directive is attached,                             [Partially illegible                 [letter-graphic symbol
along with the correspondence and preparation                      stamp of the                      of] the Popular Front
of the disbursement instrument and                             Palestinian National                  for the Liberation of
[illegible word], in accordance with the                       Authority, Ministry of                Palestine. Please
                                                                  Finance, dated
directive. Please execute.                                                                           execute.
                                                                 August 18, 2001]
Respectfully,                                                                                                 October 7, 2001
Walid Al-Faqih
October 7, 2001

* In the event that the space provided for each response field above is insufficient, attach an additional page, and make reference
[to the supplemental-page response] on each relevant field [appearing] on this Schedule.

* This memorandum constitutes a non-severable portion of the correspondence to which it is attached, and should be kept
together with it.

07:000034
Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 9 of 46
Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 10 of 46
   Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 11 of 46




[Check superimposed on document bearing Palestinian National Authority, Ministry of Finance,
Payment Department letterhead:]

[Bank of Jordan insignia]     Bank of Jordan PLC          [Stamp: A/C:         58/1/3
                              821 - Ramallah Branch               Ministry of Finance
                                                                  ID.: 000000000
                                                                  Tel.:             ]
                                                                            [Stamp: Disburse to first payee, only;
                                                                                      Ministry of Finance]
Pay to the Order of: Mohamed Mahmoud Mohamed Zayd
Jordanian Dinars: Four thousand Jordanian Dinars, only, and no more                     J.D. 4,000. –
Signature: [illegible]        Date: July 10, 2001         Bank of Jordan [Bank of Jordan insignia]
          Check No.                              Branch No.                             Account No.
          10004281                               37 82100                                     5813




Palestinian National Authority
Ministry of Finance
Payment Department

   [Right portion of line obscured by superimposed check]               Date:       /    /2001
   Name of Beneficiary: Mohamed Mahmoud Mohamed Zayd                    His Address:____________________
   Responsibility Center: Popular Front for the Liberation of Palestine
    Explanation:         Rental of Headquarters of the Popular Front for the Liberation of Palestine / Qalqilya
                         From June 1, 2001 - May 31, 2002
   Code:                                                      Disbursement Voucher:
   4121200                                                    Rentals
   ___________________________________________________________________________
   Total Payment Amount:          4,000. -                    Jordanian Dinars Shekels

   [Remainder of Voucher, except for numbers appearing to the right, below, is obscured by I.D. Card
   superimposed on the Voucher.]
                                                                                                                       2
                                                                                                                       2
                                                                                                                       2
                                                                                                                     0/8

[I.D. Card containing two leaves is superimposed over lower portion of voucher appearing
immediately above. Translation of I.D. Card follows:]

______________________________________________________________________________
Telephone: XX-XXXXXXX/8
Fax: XX-XXXXXXX
P.O. Box 795 Ramallah
                                                      CONFIDENTIAL                                         07:000037-T
   Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 12 of 46




                        Palestinian Authority             I.D. Card

                        I.D. No.:          532 5                 [photo of
                                                                 cardholder]
                        Personal Name: Thaer
                        Father’s Name: ‘Adnan
                        Grandfather’s Name: Sa’id
                        Family Name: Da’ud
                        Mother’s Name: Layla
                        Date of Birth:           , 1977          [Stamp of the Palestinian
                                                                 National Authority]
                        Place [of Birth]: Qalqilya
                        Gender: Male                      Religion: Muslim
                        Registered in: Tulkarem




                        Palestinian Authority                 Addendum to I.D. Card
                                                              I.D. No.:           532 5
                        Family Name: Da’ud
                        Personal Name: Thaer
                        Address:
                                Qalqilya
                                Town
                        Marital Status: Single            Spouse’s I.D. No.:    Single
                        Spouse’s Name:
                        Spouse’s I.D. No. :
                        Spouse’s Name:
                        Previous Family Name:
                        Previous Personal Name:




Telephone: XX-XXXXXXX/8
Fax: XX-XXXXXXX
P.O. Box 795 Ramallah
                                                  CONFIDENTIAL                               07:000037-T
Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 13 of 46
   Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 14 of 46



                           In the Name of God, the Merciful and the Compassionate

Palestinian National Authority
                                                   Emblem of the
Ministry of Finance                                  Palestinian
Income Tax General Directorate                    National Authority

______________________________________________________________________________

Issuance Date: July 1, 2001                                                           47284
Income Tax Department: Qalqilya

                     Certificate of Income-Tax-By-Source Discount
To Honorable Mr./Ms.: Popular Front for the Liberation of Palestine

Greetings,

1 - The Income Tax General Directorate qualifies Mr./Ms.: Mohamed Zayd, I.D. No./Licensed
   Operator No.:            1731, at address: Qalqilya, to receive a discounting of the valuation of
   his transactions with you to an income-tax-by-source percentage [rate] of 00%, [or,] in
   words: zero per cent.
2 - This Certificate shall be in effect in accordance with the following terms, [which shall apply]
   severally and jointly:

            Until: August 1, 2001 (first of the month of Ab, of the year two thousand one)
            [Starting] from Invoice No.: ________________________
            Transaction value up to: *4560* Dinars New Shekels, [or,] in words: four thousand
             five hundred sixty Dinars [Palestinian National Authority stamp]
            Nature of transactions to which this Certificate applies: ___________________
3 - Other terms that the payer must observe when conducting dealings with this Certificate:
   A – This Certificate shall be effective starting on the date of its issuance.
   B - The original of this Certificate, bearing the special stamp and signature of the



                                              CONFIDENTIAL                              07:000039-T
   Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 15 of 46




   Income Tax Department, must be relied on at the time of payment, and it [the original
   Certificate] should be kept safe, [to cover] for [those] instance[s] in which the Certificate has
   been issued to one party, only.
   C - In the event the Certificate is issued “to whom it may concern,” an authenticated copy of
   it, [obtained] from the Income Tax Department, may be relied upon, subject to presentation
   of the original [if requested], and to safekeeping of the authenticated copy.
   D – This Certificate shall be effective in transactions taking place within the borders of the
   regions of the Palestinian National Authority.
   E – This Certificate shall also be effective in the event the payer is Israeli, and as against
   transactions taking place within the borders of the regions of the Palestinian National
   Authority.
   F - The [tax-collecting] party with respect to whom income tax by source has been
   discounted shall be entitled to acquire a certificate, from the payer, [reflecting] the sums from
   which discounts were taken, on a monthly and/or annual basis.
   G – The payer shall have up to the seventh day of every month to submit a report conforming
   to the Income Tax Department’s particular forms, that contains details of the recipients of the
   payments and of the taxes that were discounted during the prior month, and [s/he must] pay
   the discounted value of the taxes at the same time.
   H - The word “transaction” means any sales, business agreement, service, or transfer
   operation, and any other similar activities.


Income Tax General Directorate
Name and Signature of the Responsible Official
Director, Income Taxation
Qalqilya                    [Emblem of the
                            Palestinian
[illegible signature        National
and date ]                  Authority]


____________________________________________________________________________

Telephone: 2985881/2/3/4
Fax: 972 2 2980484
P.O. Box 795 - Ramallah
                                             CONFIDENTIAL                               07:000039-T
   Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 16 of 46




[The print content, but not handwritten content, of Bates pp. 40 and 41 was translated by a
different translator, and must be supplied from a separate electronic file (See accompanying
Translator’s Note). What follows is a translation of only the handwritten portions of these
pages:]



[Handwritten in the lower right portion of Bates 40]:



Honorable Mr. Director General of the Treasury,
1 – The cost is approved for disbursement in accordance with proper procedures.
2 - Please execute in accordance with regular practice.
July 10, 2001


Honorable Mr. Walid,
Execute what is necessary, in accordance with proper procedures.
July 10, 2001


[illegible initials and date]
__________________________________________________________________________

[Handwritten in the lower central and left portions of Bates 41]:



[several illegible lines of wording]

October 4, 2001


The cost is approved for disbursement in accordance with proper procedures.

October 6, 2001




                                                                    07:000040-T and 07:000041-T
   CaseCase
        1:18-cv-12355-MKV-DCF  Document
            1:02-cv-02280-RJL Document  171-1Filed
                                       168-6   Filed 04/06/22Page
                                                   10/19/12   Page1 17
                                                                    of 3of 46




Date: July 6, 2001


To the Honorable Brother Sami al-Ramlawi, may Allah protect him.
Director-General of the Finance Ministry.


Greetings of Building the Homeland:

With reference to the authorization of the brother, President of the State of Palestine,
ordering the continuation of the payment of the rent for the office of the Popular Front in
the Qalqilya Governorate, which we are continuing to operate –

Please kindly pay the amount of the rent to the owner, Mr. Mohammed Mahmoud
Mohammed Zeyd, for the years 2001-2002, pursuant to the authorized contract.



                                             Please accept the utmost respect,

                                             Your brother,

                                             Tayseer Qubaa [signature]



[Likely translation of partially illegible
handwritten note:]
                                                 [Illegible stamp]
Hon. Director-General of the Finance
Ministry – is the expense authorized … To
pay according to the directives … for your
attention … According to the arrangement…
June 7, 2001.                                    [Likely translation of partially illegible
                                                 handwritten note:]

                                                   Mr. Walid Alidi … for execution …
                                                   July 10, 2001




                                                                                      07:000040-T
   CaseCase
        1:18-cv-12355-MKV-DCF  Document
            1:02-cv-02280-RJL Document  171-1Filed
                                       168-5   Filed 04/06/22Page
                                                   10/19/12   Page1 18
                                                                    of 3of 46




Number:

Date: January 30, 2000

His Excellency Brother Yasser Arafat, may Allah protect him
President of the State of Palestine


Blessing of the Homeland and of building: -

Subject: Transfer of the Sum of Four Thousand (4,000) Jordanian Dinars

       I would kindly request that you transfer the sum of four thousand Jordanian
Dinars, rent for the headquarters of the Popular Front in the city of Qalqilya, in light of
the financial situation that the Popular Front is experiencing, of which you are well
aware.

        Please accept the utmost respect and appreciation.

                                                                              [Illegible stamp and
                                                                              illegible handwritten
                                                                              notation]

                                          Your brother,
                                          [Signature]
                                          Tayseer Qubaa
                                          Deputy Head of the Palestine National Council


[Handwritten signature and date:]                       [Handwritten note and date:]

    Yasser Arafat                                          The expense was approved for
    July 4, 2001                                           payment according to procedures
                                                           July 6, 2001


* In the event that the field assigned is insufficient for the text thereof, an additional page shall be added
  and every item shall be stated in its field.

* This memorandum is an inseparable part of the correspondence to which it is attached, and shall be
  preserved with it.

                                                                                                   07-000041-T
    Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 19 of 46




                                     Rental and Leasing Agreement

City: Qalqilya     Neighborhood: Ra’isi [Main] Street, across from [illegible word] Plot No.: 10 Area No.: 7584
Category and Description of the Rented Property: Building consisting of two stories, with exterior yard on the
East
Lessor’s Name, Surname, and Residence Location: Mohamed Mahmoud Mohamed Zayd / Qalqilya
Lessee’s Name, Surname, and Residence Location: Office of the Popular Front for the Liberation of Palestine /
General Office

Rent Amount: Four thousand five hundred sixty Dinars, only, and no more                                 [illegible stamp that
(4560 Jordanian Dinars)                                                                                      includes the
                                                                                                          handwritten date
Rent Payment Method: Annually, to be paid in advance at the start of each year                           August 5, 2001 and
                                                                                                       an illegible signature]
Rental Period: Full Year
Rental Start Date: June 1, 2000                Rental End Date: May 30, 2001
Extent of Spaces Rented: Entire space
Present Condition of Rental Premises: Good construction
How Rental Premises Will Be Used:          General office for the Popular Front for the Liberation of Palestine Party
Rental-Premise Appurtenances Provided to Lessee: Devoid of furnishings / [but] has kitchen
         Audited and Approved
        [illegible signature] August 2, 2001
                                               General Terms
1 - Lessee pledges to vacate the rental premises at the expiration of the rental period, and to return its key and
deliver it [the rental premises] back to the Lessor in fully the same condition as it was in, originally, at the time [the
rental] was [initially] assumed. If this does not occur, rent shall be deemed to double, starting from the expiration
date of the agreement, and the Lessee shall become obligated to pay [this double-rent] as damages and losses for
each of the days that elapses until the day on which the key is returned, and it [rental premises] has been delivered
back.
2 – The Lessee shall not be permitted to lease the rental premises, or any portion thereof, to another person without
obtaining written consent from the Lessor.
3 – Basic and necessary repairs that need to be carried out for the rental premises during the rental period, such as
repair of the roofs, [illegible word], and the building, and the stopping of leaks, shall be the responsibility of the
Lessor, whereas expenses for decorating, [illegible word], whitewashing, painting, and [measures] required by the
Department of Health shall be the responsibility of the Lessee.
4 - The Lessee shall not be permitted to alter the partitions of the rental premises without written advice and
agreement on the part of the Lessor.



                                                     CONFIDENTIAL                                         07:000042-T
    Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 20 of 46



5 – If the Lessee wishes to renew the lease, he shall be obligated to set this forth in writing, for the Lessor, one
month prior to conclusion of the preceding rental period. If both agree to the same new terms, signing of a new
agreement shall be required, and the Lessor shall not be entitled to lease the premises to any [other] party of his
choosing without [meeting the] prerequisite of Lessee notification and input.
6 – If the Lessee is late in paying the rent amount set forth above, then all installments shall become due, and the
Lessor shall have the option of bringing a lawsuit seeking [either] the full amount [of the rental agreement sum], or
rescission of the rental with a claim for the Lessee’s [payment of] all damages and losses that he [Lessor] has
suffered.
7 - The guarantor whose signature is written below is acting on behalf of the Lessee, and is the guarantor of funds,
and of performance of all the provisions of the agreement.
8 - During the period of rental, the repair and restoration of any broken glass, door locks, or windows, and of
anything destroyed through use of door bolts, water pumps, or the like, shall fall to the Lessee, and it [Lessee] shall
leave the rental premises, and return them, at the conclusion of the agreement , in their original condition.
9 – [Ministry of] Finance taxes shall be the responsibility of the Lessor, whereas [Ministry of] Education taxes shall
be the responsibility of the Lessee.


                                                     Special Terms
1) Water and energy utility costs shall be borne by the Lessee. 2) Waste collection and incineration taxes shall be
the responsibility of the Lessee. 3) [illegible word crossed out] The Lessee is concerned about the storage closet
below the staircase, and also about the roof.


Bearing signatures to the [terms] set forth above, this agreement’s writing takes the form of two copies, signed with
our acceptance and approval of the totality of the General and Special Terms set forth above.


Witness                     Witness                        Lessee                    Lessor
Nidhal Hamayal              Saber Da’ud                    General Office of the     Mohamed Mahmoud Mohamed
                                                           Popular Front             Zayd
                                                           Shahir ‘Ali Al-Ra’i       [letter-graphic symbol of the
                                                                                     Popular Front for the Liberation
                                                                                     Of Palestine]
                        [Partially illegible seal of the
                     Popular Front for the Liberation of
                       Palestine, containing the word
                      “Guarantor,” and overlain with
                      the letter-graphic symbol of the
                             same organization]




                                                      CONFIDENTIAL                                        07:000042-T
                           Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 21 of 46

                                                                                   Emblem of the
                                                                                     Palestinian
                                                                                  National Authority
Palestinian National Authority
Ministry of Finance
Property Tax Department
                                                               * Copy of Registration Extract *
                Buildings and Land Taxation / City of Qalqilya             From the Assessments Registry In Effect From the Year 1987 to the Present
            Land Taxation / For the Village of . . . . . . . . .From Distribution District / Taxpayer Registry In Effect From the Year ……to the Year…..
 Quarter     Position     Area         Plot            Field                         Category                     Owner’s Name                  Lot      Reg-      Page   Re-
                           No.         No.    Meters      Dunams           Land                 Building                                      Appor-     istry            arks
                                                                                                                                              tionment
Qalqilya      Hara        7584         10         -             -             Bldg           Consisting       Mohamed Mahmoud                 64/32      29          40
              Nazal                                                                             of             Mohamed Zayd
              Zayd
                                                                           1-Ground          3 rooms,           Ibrahim Mahmoud                 32       29          40
                                                                             floor            kitchen,            Mohamed Zayd
                                                                                             lavatory,
                                                                                                 and
                                                                                             [illegible
                                                                                               word]
                                                                          2- First floor     3 rooms,
                                                                                              kitchen,
                                                                                              lavatory
                                                                           Third floor      guest house

                                              Remarks:                   [illegible hand-   written line]

[Three adhesive stamps, one bearing the image of an historic mosque, and two bearing the Emblem of the Palestinian National Authority, with ink
stamp of the Palestinian National Authority overlying them, appear on lower right portion of chart]

This Registration [Extract] was provided pursuant to a request from Mr. Mohamed Mahmoud Mohamed Zayd / Qalqilya, dated June 22, 2000                             I.D.:
Passport No.:            .
Done: June 22, 2000
Name of Employee:         Mohamed Salim Kamil Sabah                 Name of Office Director: Mohamed Taysir Hanun
His Signature: [Illegible signature]                                Signature and Official Stamp: [Stamp: Palestinian National Authority, Director of the
                                                                    Property Tax Office – Qalqilya [with illegible signature overlying it]]


                                                               07:000043-T            CONFIDENTIAL
    Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 22 of 46



                    Rotating Irrevocable Power of Attorney for Attachment of Third-Party Rights

         I, the signatory below, Ibrahim Mahmoud Mohamed Zayd of Qalqilya, bearer of I.D. Number                6170,
affirm and acknowledge that I have made a complete, final, and undivided sale of all the community lots
encompassing 4,000 lots out of the original 35,225 lots in Plot Number 5 of Area 7573 of the Qalyilya properties
known as Bakhla Al A’ma, the total area of which is 35 dunams and 225 square meters, to my brother Mohamed
Mahmoud Mohamed Zayd of Qalqilya, the Buyer, who bears I.D. Number                  1732. I have also sold him all the
community lots encompassing all that is included in the real estate parcel located on Qalqilya land that consists of an
edifice composed of a ground floor and a first floor, bordered on the East by the public street and the property of Al-
Hajj Abdel Barham; on the North, by the property of Al-Hajj Abdel Barham; on the West, by [the property of]
Wadi’ Hasanayn Da’ud ; and on the South, by the property of Ahmad Abu Hiblah. [I further affirm and
acknowledge that] I have collected the full price from the aforementioned Buyer, Mohamed, and that I have
appointed, [to act] on my behalf, and in my stead, Rotating Power-of-Attorney-holder attorney Ahmad Mahmoud
Ibrahim Shar’ab of Tulkarem, bearer of I.D. Number           7521, so that he may commence real estate transactions,
and so that he may carry out [the matters] that concern me in relation to the community lots on the two real estate
parcels referenced above, which are registered at the Qalqilya Financial [Registry] under Plot Number 5 of Area
Number 7573, and Plot Number 10 of Area 7584. I have also granted him the authority to sign sales agreements in
the presence of the land-recording official, and to sign all official documents pertaining to the two real estate parcels
described above, and also empowered and authorized the Rotating Power-of-Attorney-holder to represent me before
the various types and levels of official government agencies and courts, with priority, urgency, and exclusivity, in
[matters] relating to the sale of the two real estate parcels described above. I have granted him the authority to
transfer and relinquish all the community lots described above, through [the offices] of all official government
agencies, to my aforementioned brother Mohamed, the Buyer, such that I no longer have any connection to the two
real estate parcels described above, and in order for the Buyer’s right to attach to these. I affirm and acknowledge
that I have collected the full price from the Buyer, and that there is nothing more that he owes me for attachment of
his Buyer’s right in the two real estate parcels, [under operation of] the Rotating Irrevocable Power of Attorney
covering attachment of the rights of the Buyer; and [further affirm and acknowledge] that I shall not be permitted to
cancel it [the Power of Attorney], either in advance, or subsequently, through [paper] deed. I request from the
honorable and respected Notary of Jenin that he certify this Power of Attorney in accordance with proper
procedures.

I witness accordingly                I witness accordingly                          Holder of Power of Attorney/Seller
[illegible words]                    [illegible words]                              Ibrahim Mahmoud Mohamed Zayd

                                      Stamp of the
                                                        86/1066 – 81[illegible word]
                                     Notary of Jenin    27 61
                                                                                             [illegible name or words]


                                                       CONFIDENTIAL                                      07:000044-T
   Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 23 of 46


                                                                                           [Qalqilya Notary stamp
                                                                                           over which the following
                                                                                               is handwritten:]
                                                                                                    __7__
                            In the Name of God, the Merciful and the Compassionate                  2001_
                                                                                                     484
                                         Special Power of Attorney

I, the signatory below, Mohamed Mahmoud Mohamed Zayd of Qalqilya, bearer of I.D. Number
      1731, affirm and acknowledge that I am appointing, [to act] in my stead, and on my personal
behalf, Ms. Marguerite Mohamed Mahmoud Al-Ra’i of Qalqilya, bearer of I.D. Number                   1105, so
that she may substitute for me in collecting rent [due] on a building located on Plot Number 10 of Area
Number 7584, which consists of a structure of two stories and an exterior Eastern yard, [and which has
been] rented out as the office of the Popular Front for the Liberation of Palestine (general office); [and so
that she may] transact business with any requisite official and unofficial department, whenever necessary;
sign, on my behalf, a new rental agreement; and pursue matters until full rental payments have been
collected, [all under operation of] a Special Power of Attorney giving full effect to her opinions, her
statements, and her actions with respect to the aforementioned [grantor of the Power of Attorney]. I
request from the honorable Qalqilya Notary that he certify this Power of Attorney in accordance with
proper procedures.
Witness                          Witness                           Grantor of Power of Attorney
‘Asim ‘Izzan Maher Nazal         Husni ‘Ali Musa [illegible        Mohamed Mahmoud Mohamed Zayd
                                                last name]

On the 21st day of the Month of Rabi’ Al-Thani, in the Year 1422 (A.H.), (the 2nd of the Month of
Tammuz, in the Year 2001 (A.D.)): The signature recorded at the bottom of this Special Power of
Attorney instrument is the signature of the aforementioned grantor. He signed it in my presence, after I
affirmed and acknowledged its contents, word for word. This was [done] in the presence of two known
witnesses, Mssrs. 1 – ‘Asim ‘Izzan Maher Nazal/Qalqilya, and 2 – Husni ‘Ali Musa [illegible last name]
/Qalqilya.

Accordingly, and pursuant to [illegible word], his [grantor’s] signature has been certified by me, Jamal
‘Arar, Qalqilya Notary, and registered in the relevant registry, in accordance with proper procedures.

  [illegible stamp]                           [Two stamps                                     Qalqilya Notary
 [illegible words and                        containing the                                   Jamal ‘Arar
signature] 108079S                         word “Qalqilya” and
                                              illegible text]                                [illegible stamp]

                                                                                  [illegible letters] July 2, 2001



                                                CONFIDENTIAL                                    07:000045-T
   Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 24 of 46



                        In the Name of God, the Merciful and the Compassionate

Palestinian National Authority                  Emblem of the
Ministry of Finance                               Palestinian
Treasury Directorate – Payments Department     National Authority
______________________________________________________________________________

                                       [Redacted or otherwise fully-
No.: [illegible]                       blacked-out seal or emblem]
                                                                                     Date: July 19, 2001


From: Walid Al-Faqih
To: Brother Mohamed Al-Bayd / Director General of the Treasury, May God Preserve Him
Subject: Rental of Popular Front office / Qalqilya

The eligible period is from June 1, 2001 – May 31, 2002.
Lessor – Mohamed Mahmoud Mohamed Zayd
Annual Rental Amount – (*4, 560*) [Penned diagonally:] Honorable Brother Mohamed Al-Sha’ir
                                                               Kindly study and prioritize [illegible word(s)]
                                                              [illegible initials] July 26, 2001
Best greetings, etc.:
I would like your instructions for approval of the attached rental agreement.

1 – The Legal Advisor                                     2 – Administrative Affairs
3 – Disbursement approval                                 4 – Approval by [two illegible words]
After completion of procedures, I would like a re-processing of the payments.


                                   With respect and appreciation
Signature: Walid Al-Faqih
                               [Three short lines of illegible handwritten words and/or numbers;
                               The first includes the word “sayyid”; and the second contains the
                               name “Ziyad’]

Telephone: 2985881/2/3/4
Fax: 2985880
P.O. Box 795 Ramallah
                                                                                                   07:000046-T
Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 25 of 46
Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 26 of 46




               Original
Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 27 of 46
Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 28 of 46
Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 29 of 46
Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 30 of 46
Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 31 of 46
Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 32 of 46
Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 33 of 46
Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 34 of 46
Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 35 of 46
Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 36 of 46
Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 37 of 46
Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 38 of 46
Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 39 of 46
Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 40 of 46
Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 41 of 46
Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 42 of 46
Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 43 of 46
Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 44 of 46
Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 45 of 46
Case 1:18-cv-12355-MKV-DCF Document 171-1 Filed 04/06/22 Page 46 of 46
